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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA           :


             Plaintiff,                             Criminal No. 06-569-07


        v.                             :


NELSON REYES                                                O R D E R


             Defendant.                :



             This matter having come before the Court by way of a

letter request by the defendant for early termination of

supervised release;

             It is on this 25th day of April, 2011 hereby ORDERED

that this request is denied.




                               s/Susan D. Wigenton
                               SUSAN D. WIGENTON
                               United States District Judge
